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WESTERN DIVI S ION

 

 

CARL BROWN,
Plaintiff.

vs. NO. 04-2520-Ml/V

JOYCE ANDERSON, et al. ,

Defendants.

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ORDER TO COMPLY WITH THE PLR_A
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Carl Brown, Bureau of Prisons inmate registration
number 11534»076, an inmate at the Federal Correctional Institution
in Memphis, filed a p;g §§ complaint pursuant to Bivens v. Six
Unknown Fed. Narcotics Agents, 403 U.S. 388 (1971), on July 2, 2004,
along with an in fp;ma pauperis affidavit containing a certification
by the trust fund officer at the prison. The Court issued an order
on November 23, 2004, denying leave to proceed.ig fg;ma pauperis and
directing the Plaintiff to remit the civil filing fee within thirty
(30} days. Plaintiff paid the filing fee on December 9, 2004. The
Court issued an order on December 27, 2004, that dismissed the case
pursuant to 28 U.S.C. §§ 1915(e)(2)(B)(ii) and 1915A(b}(l), certified
that any appeal would not be taken in good faith, and informed him
that, if he wishes to take advantage of the installment payment

provisions for paying the appellate filing fee, he must comply with

This document entered on the docket Sheet in compttence
wtth Ru!e 58 and;‘or ?`9{3) FRCP on

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the procedures set out in McGore v. Wrigglesworth, 114 F.Bd 601, 611
(6th Cir. 1997}, and 28 U.S.C. § 1915(b). Judgment was entered on
December 29, 2004. Plaintiff filed a notice cf appeal on January lO,
2005. The Plaintiff has not, however, paid the appellate filing fee.
Accordingly, the Sixth. Circuit has remanded this case for the
issuance of a deficiency order.

The final matter to be addressed is the assessment of the
$255 appellate filing fee. The United States Court Of Appeals for the
Sixth Circuit has held that a certification that an appeal is not
taken in good faith does not affect an indigent prisoner plaintiff’s
ability to take advantage of the installment procedures contained in
28 U.S.C. § 1915(b). McGore, 114 F.Bd at 610-11. McGore sets out
specific procedures for implementing the Prison_Litigation RefornlAct
of 1995 (“PLRA”). Therefore, the Plaintiff is instructed that if he
wishes to take advantage of the installment procedures for paying the
appellate filing fee, he must comply with the procedures set out in
McGore and § 1915(b). In particular, the Plaintiff must, within
thirty days of the date of entry of this order, file a completed ip

forma pauperis affidavit and a prison trust fund account statement

Showing:
l) the average monthly deposits, and
2) the average monthly balance

for the six months prior to the filing of the notice of appeal, and

3) the account balance when the notice cf appeal was filed.
lt is ORDERED that within thirty (30) days of the date of entry of
this order the Plaintiff properly complete and file both an ip ;p;m§

pauperis affidavit and a trust fund account statement showing the

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above amounts. If the Plaintiff fails either to file these documents
or to pay the $255 filing fee, this Court will notify the Sixth
Circuit, which will dismiss the appeal.

The Clerk shall transmit a copy of this order to the United

States Court cf Appeals for the Sixth Circuit.

IT IS SO ORDERED this llth day Of May, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02520 Was distributed by faX, mail, or direct printing on
May ]2, 2005 to the parties listed.

 

 

Carl Brown

11534-076

P.O. Box 34550
l\/lemphis7 TN 38184--055

Honorable J on McCalla
US DISTRICT COURT

